                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF TENNESSEE
                         NORTHEASTERN DIVISION

JOSHUA LEE CAROLL, et al.,             )
                                       )
           Plaintiffs                  )
                                       )          No. 2:11-0019
v.                                     )          Judge Sharp/Bryant
                                       )          Jury Demand
FENTRESS COUNTY SHERIFF                )
DEPARTMENT, et al.,                    )
                                       )
           Defendants                  )
TO:   THE HONORABLE KEVIN H. SHARP

                        REPORT AND RECOMMENDATION

           Defendant Laurel Wasik has filed her motion for summary
judgment   (Docket   Entry   No.   307).     Plaintiff     King,   a   prisoner
proceeding pro se and in forma pauperis, has filed his response in
opposition (Docket Entry No. 325).
           For the reasons stated below, the undersigned Magistrate
Judge recommends that Defendant Wasik’s motion for summary judgment
be GRANTED, and the complaint dismissed with prejudice.
                          STATEMENT OF THE CASE

           Plaintiffs Joshua Lee Carroll and William Carter King
filed their pro se complaint pursuant to 42 U.S.C. § 1983 alleging
that Defendants violated their constitutional rights by failing to
correct unsanitary conditions in the Fentress County Jail and by
being willfully indifferent to Plaintiffs’ serious medical needs
(Docket Entry No. 1). Specifically, Plaintiffs complained about
unsanitary   conditions    resulting       from   faulty   plumbing    and   the
presence of “black mold” in the jail.
           Plaintiff Carroll’s claims were dismissed for his failure
to prosecute and his failure to keep the court informed of his



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current address (Docket Entry No. 260). In addition, Plaintiff’s
claims against Defendant Fentress County Sheriff’s Department and
Defendant Faye Smith have previously been dismissed (Docket Entry
Nos. 87 and 320), leaving Plaintiff King’s claims against Defendant
Wasik as the only surviving claim in the case.
                           STANDARD OF REVIEW

            A party may obtain summary judgment by showing “that

there is no genuine dispute as to any material fact and that the

movant is entitled to judgment as a matter of law. See Fed. R.

Civ. P. 56(a); Covington v. Knox County School Sys., 205 F.3d

912, 914 (6th Cir. 2000).     The moving party bears the initial

burden of satisfying the court that the standards of Rule 56 have

been met.    See Martin v. Kelley, 803 F.2d 236, 239 n.4 (6th Cir.

1986).   The ultimate question to be addressed is whether there

exists any genuine dispute of material fact.          See Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986); Covington, 205

F.3d at 914 (citing Celotex Corp. v. Catrett, 477 U.S. 317, 325

(1986)). If so, summary judgment is inappropriate.

            To defeat a properly supported motion for summary

judgment, the nonmoving party must set forth specific facts

showing that there is a genuine issue of material fact for trial.

If the party does not so respond, summary judgment will be

entered if appropriate.      Fed. R. Civ. P. 56(e).       The nonmoving

party’s burden of providing specific facts demonstrating that

there remains a genuine issue of material fact for trial is

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triggered once the moving party shows an absence of evidence to

support the nonmoving party’s case. Celotex, 477 U.S. at 325. A

genuine issue of material fact exists “if the evidence is such

that a reasonable jury could return a verdict for the nonmoving

party.”   Anderson, 477 U.S. at 248.              In ruling on a motion for

summary judgment, the Court must construe the evidence in the

light most favorable to the nonmoving party, drawing all

justifiable inferences in its favor. See Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

                                   ANALYSIS

              The Eighth Amendment to the United States Constitution

prohibits the infliction of cruel and unusual punishment. Prison

officials must ensure that inmates receive adequate food, clothing,

shelter, and medical care, and must take reasonable measures to

guarantee their safety. Farmer v. Brennan, 511 U.S. 825, 832

(1994).   A    prison’s     conditions       of    confinement   fail   to   meet

constitutional requirements if they fall beneath “the minimal

civilized     measure     of   life’s    necessities”      as    measured    by   a

“contemporary standard of decency.” Rhodes v. Chapman, 452 U.S.

337, 347 (1981). A prison official inflicting such conditions acts

with a sufficiently culpable state of mind if he does so with

“deliberate indifference.” Wilson v. Seiter, 501 U.S. 294, 303

(1991). A prison official cannot be found liable under the Eighth

Amendment for denying an inmate humane conditions of confinement

unless the official knows of and disregards an excessive risk to


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inmate health or safety. The official must both be aware of facts

from which the inference could be drawn that a substantial risk of

serious harm exists, and he must also draw this inference. Farmer,

511 U.S. at 837.

           Defendant Laurel Wasik served as the Jail Administrator

of the Fentress County Jail from September 1, 2010, until August

18, 2011 (Docket Entry No. 312 at 1). On September 2, 2010,

Plaintiff King was transferred from the Fentress County Jail to the

Overton County Jail, where he remained until September 28, 2010,

when he was transferred back to the Fentress County Jail (Docket

Entry No. 313 at 3).

           Plaintiff King’s complaint against Defendant Wasik is

based   upon   claims   of   (1)   unsanitary   conditions    at   the    jail

including but not limited to “black mold,” and (2) deliberate

indifference to his serious medical needs.

           According to the declaration of Defendant Wasik (Docket

Entry No. 312), she began improvements at the jail shortly after

beginning her employment there in early September 2010. She began

by having the jail cleaned and painted (Id.). She identified a

Cookeville plumbing company (All American Plumbing) and obtained

county approval of purchase orders to perform plumbing work in the

jail. Approval was obtained on September 28, 2010, and the work was

commenced on October 2, 2010, four days after Plaintiff King

returned   from   the   Overton    County   Jail.   Additional     work    was

performed later in October 2010, and the total cost of this work

exceeded $6,700. The work included repair and replacement of

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plumbing and plumbing fixtures within the jail (Docket Entry No.

312 at 2).

           In   addition,   Defendant    Wasik   took   steps   to   address

complaints of mold within the jail.1 Specifically, mold that was

found was removed by spraying with bleach and scraping or brushing

surfaces to remove all traces of mold. In addition, the jail

obtained a professional evaluation that suggested that the jail’s

ventilation system needed modifications to remove moisture from the

air that resulted in condensation, promoting the growth of mold. On

January 7, 2011, Drain Masters Plumbing and Mark Flatt submitted a

proposal to revamp the HVAC unit in the jail in order to reduce

moisture in the air and resulting condensation. The cost of this

proposal was $9,800. On January 20, 2011, All American Plumbing

submitted a proposal for revamping the HVAC system and removal of

moisture and mold within the jail. This proposal was accepted and

All American began work under this proposal in late January 2011.

This work was completed later in 2011.

           In addition, All American Plumbing performed additional

plumbing work at the jail on January 24, March 9, and March 16,

2011 (Docket Entry No. 312 at 4-5).

           Although it appears evident from the record that plumbing

problems and a problem with mold existed at the Fentress County

jail in 2010, it also appears that Defendant Wasik began addressing


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      This mold has been described as “black mold,” apparently based upon
its visual appearance, throughout the record. However, neither Plaintiff
nor Defendants have subjected this substance to scientific analysis to
determine its identity.

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these problems almost as soon as she began her employment in early

September 2010. As stated above, she had the walls of the jail

cleaned and freshly painted, she obtained approval to employ All

American Plumbing to do substantial repairs and replacements on the

plumbing    and   fixtures   within     the    jail.   In      addition,    she    had

existing mold removed with bleach and scrubbing, and arranged to

have considerable work performed on the heating and ventilating

system at the jail in order to remove moisture in the air and

resulting condensation that tended to promote the growth of mold.

This work, and the costs incurred by Fentress County in order to

have it done, are documented in the record and are undisputed. From

this   evidence,    the    undersigned        Magistrate       Judge   finds      that

Plaintiff    King   has   failed   to   demonstrate        a    genuine    issue    of

material fact for trial supporting his claim that Defendant Wasik

was deliberately indifferent to a serious risk of harm to him

resulting from unsanitary conditions within the jail.

            The declaration of Barbara Rogers (Docket Entry No. 313)

also demonstrates that Plaintiff King received medical examinations

and treatment at the Fentress County Jail on a multitude of

occasions, both before and after Defendant Wasik began her tenure

as jail administrator. Specifically, after Plaintiff King was

returned to the Fentress County Jail from the Overton County Jail

on September 28, 2010, he was provided prescription medications

Ranitidine and amoxicillin on November 4, 2010 (Docket Entry No.

313 at 3). He began receiving Tramadol on December 15, 2010.

Following complaints of a rash, he was seen by Nurse Smith and

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prescribed Nystatin and Benadryl on or about February 1, 2011.

           Plaintiff King was released from the Fentress County Jail

on February 24, 2011, to participate in rehabilitation treatments

at Faith Farms in Florida (Docket Entry No. 313 at 4). Moreover,

Plaintiff King was seen at the jail by Nurse Faye Smith on multiple

occasions between September 28, 2010, and King’s release (Docket

Entry No. 151-1 at 4-5).

           In his declaration filed in response to Defendant Wasik’s

motion, Plaintiff King asserts that he was incarcerated at the

Fentress County Jail in the fall of 2010, that he has scarring on

his legs and genitals, and that these scars “are the result of time

or something going on at the jail during 2010-2011" (Docket Entry

No. 325 at 1). Plaintiff King further states that he requested his

medical records and copies of his grievances from Defendant Wasik,

that he did receive his medical records, but that Defendant Wasik

could not provide the requested copies of his grievances. Plaintiff

King further states in his declaration that he was “forced to live

in a jail cell with raw sewage and human waste in the floor,” and

that he requested Defendant Wasik to send him to another jail until

the problem with the sewage was repaired but she refused to do so.

(Id.)

           From   the   undisputed     evidence    in   this   record,   the

undersigned Magistrate Judge finds that Plaintiff King has failed

to demonstrate the existence of a material issue of fact regarding

Defendant Wasik’s alleged deliberate indifference to a serious risk

of injury from unsanitary jail conditions or Plaintiff King’s

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serious medical needs. To the contrary, the undersigned Magistrate

Judge finds that Defendant Wasik, almost from the first day on the

job as jail administrator, took multiple steps to address apparent

problems   with       the    plumbing     at       the   jail   and    the   problems    of

excessive moisture and condensation promoting the growth of mold

within the facility. In addition, the undersigned Magistrate Judge

finds from the undisputed record that Plaintiff King was seen on

multiple occasions by a nurse in response to his various medical

complaints during Defendant Wasik’s tenure, and that Plaintiff was

provided   by    the        jail   with   multiple        prescription       medications

calculated to address his various medical complaints.

           For the reasons stated above, the undersigned Magistrate

Judge finds that Defendant Wasik has shown that there is no genuine

dispute as to any material fact and that she is entitled to

judgment was a matter of law.
                                    RECOMMENDATION

           For the reasons stated above, the undersigned Magistrate

Judge recommends that Defendant Wasik’s motion for summary judgment

be GRANTED, and that the complaint be dismissed with prejudice. The

undersigned further recommends that all pending motions be DENIED

as moot.
           Under Rule 72(b) of the Federal Rules of Civil Procedure,

any   party     has     14     days   from         receipt      of    this   Report     and

Recommendation in which to file any written objections to this

Recommendation with the District Court.                      Any party opposing said

objections shall have 14 days from receipt of any objections filed

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in this Report in which to file any responses to said objections.

Failure to file specific objections within 14 days of receipt of

this Report and Recommendation can constitute a waiver of further

appeal of this Recommendation.       Thomas v. Arn, 474 U.S. 140 106 S.

Ct. 466, 88 L.Ed.2d 435 (1985), Reh’g denied, 474 U.S. 1111 (1986).

           ENTER this 24th day of January, 2014.

                                         /s/ John S. Bryant
                                         JOHN S. BRYANT
                                         United States Magistrate Judge




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